Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 1 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 2 of
                                     104


                                             &RPSRVLWH ([KLELW  6XPPDU\
([ $     6XPPDU\ &KDUW RI 1HW 2XWJRLQJ 7UDQVIHUV IURP *67) &ODVVHV &                   ' $FFRXQWV SUHYLRXVO\ ILOHG DW
             (&) 1R 
                                 $2,000,000 - Domaine Select Wine & Spirits (DSWS)
([ %     ([FHUSW '6:6 6HULHV $ 3ULYDWH 3ODFHPHQW 0HPRUDQGXP LQGLFDWLQJ FRPSDQ\ UROHV RI 'HIHQGDQW
             *XVWDYR $GROIR +HUQDQGH] )ULHUL -RUJH 0RUD  3DROR 'RPHQHJKHWWL  DQG $OOLVRQ 'RPHQHJKHWWL 
([ &     1RWH DQG 1RWH 3XUFKDVH $JUHHPHQW EHWZHHQ '6:6 DQG *67) IRU  PLOOLRQ GDWHG 6HSW  
             H[HFXWHG E\ 'HIHQGDQW
([ '     1RWH DQG 1RWH 3XUFKDVH $JUHHPHQW EHWZHHQ '6:6 DQG 'HIHQGDQW IRU  PLOOLRQ GDWHG 2FW  
             H[HFXWHG E\ 'HIHQGDQW DQG $OOLVRQ 'RPHQHJKHWWL
                                  $297,586.49 - Global Securities Advisors GP (GSA)
([ (     6XPPDU\ &KDUW RI 7UDQVIHUV IURP *67) &ODVVHV &               ' $FFRXQWV WR *6$ $FFRXQW
([ )     ,QWHUURJDWRU\ $QVZHUV IURP Krono Holdings 0LDPL'DGH &LYLO /LWLJDWLRQ H[HFXWHG E\ 'HIHQGDQW DQG
             RQ *6$ $FFRXQW WUDQVIHUV WR 'HIHQGDQW DQG 2O\PSLD 'H &DVWUR EHWZHHQ -DQXDU\ DQG $SULO 
                                $90,000 - Global Securities Management LLC (GSM)
([ *     ([FHUSW IURP (&) 1R  /DQG 7UXVW 7+  3HWLWLRQ UHJDUGLQJ VRXUFHV RI IXQGV IRU SXUFKDVH
             RI FRQGR XQLW LQ +ROO\ZRRG )ORULGD
([ +     &HVDU +HUQDQGH] 5 (PDLO 5HTXHVWLQJ *67) /RDQ WR *60 IRU  DQG 7UDQVODWLRQ
([ ,     *67) /RDQ WR *60 IRU  GDWHG $SULO   PDWXULW\  PRQWK
([ -     *67) &ODVV & $FFRXQW :LUH 7UDQVIHU WR *60 $FFRXQW IRU 
                               $2,670,000 - GSM for GSTF Loans to “Global” entities
([ .     ([FHUSWV IURP *67) /RDQV WR *60 &RORPELD 6$6 IRU  PLOOLRQ GDWHG $XJ   *OREDO
             6HFXULWLHV 0DQDJHPHQW &RUS *60 &RUS IRU  GDWHG $XJ   *60 IRU 
             GDWHG 6HSW   DQG *60 &RUS IRU  GDWHG 'HF   ZKLFK ZDV IXQGHG LQ SDUW
             E\  IURP *67) &ODVVHV & ' H[HFXWHG E\ 'HIHQGDQW RQ EHKDOI RI *67) RU *60 &RUS
([ /     *67) &ODVVHV &        ' $FFRXQWV :LUH 7UDQVIHUV WR *60 $FFRXQW WRWDOLQJ 
                                            $148,500 - Dario Pacheco Angulo
([ 0     *67) /RDQ WR 3RUW  6$6 IRU  GDWHG 1RY   H[HFXWHG E\ 3DFKHFR $QJXOR6
([ 1     *67) &ODVV ' $FFRXQW :LUH 7UDQVIHU WR 3DFKHFR $QJXOR LQ 3DQDPD



  'HIHQGDQW¶V IULHQG ZLWK VXSSRUW OHWWHU ILOHG DW (&) 1R  DW 

  'HIHQGDQW¶V IULHQG ZLWK VXSSRUW OHWWHU ILOHG DW (&) 1R  DW 

  'HIHQGDQW¶V IULHQG DQG DOVR WUXVWHH RI '&  ,UUHYRFDEOH 7UXVW ZLWK VXSSRUW OHWWHU ILOHG DW (&) 1R  DW 

  'HIHQGDQW¶V H[ZLIH ZLWK VXSSRUW OHWWHU ILOHG DW (&) 1R  DW 

  'HIHQGDQW¶V EURWKHU ZLWK VXSSRUW OHWWHU ILOHG DW (&) 1R  DW 

  'HIHQGDQW¶V IULHQG ZLWK VXSSRUW OHWWHU UHIHUHQFHG DW (&) 1R  DW  DQG ILOHG DW (&) 1R  DW 
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 3 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 4 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 5 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 6 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 7 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 8 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 9 of
                                     104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 10 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 11 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 12 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 13 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 14 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 15 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 16 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 17 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 18 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 19 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 20 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 21 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 22 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 23 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 24 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 25 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 26 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 27 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 28 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 29 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 30 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 31 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 32 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 33 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 34 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 35 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 36 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 37 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 38 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 39 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 40 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 41 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 42 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 43 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 44 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 45 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 46 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 47 of
                                      104
Case1:18-cr-20685-KMW
Case 1:18-cr-20685-KMW Document
                       Document131
                                377-3Entered
                                       Entered
                                             on on FLSD
                                                FLSD    Docket
                                                      Docket    04/28/2021Page
                                                             08/21/2019       Page
                                                                                10 48 of
                                                                                   of 18
                                       104
                                                       &DVH 1R FU.0:


    &HVDU DQG *XVWDYR LQIRUPDOO\ DJUHHG LQ  WR LQYHVW ZLWK %KDNWD DQG WR VSOLW WKH SURFHHGV RI

    WKDW LQYHVWPHQW HYHQO\ DPRQJVW WKHPVHOYHV 7R HIIHFWXDWH WKLV LQYHVWPHQW WKH )ORULGD FRUSRUDWLRQ

    *6+²ZKLFK LV WKH SDVVLYH SDUHQW FRPSDQ\ RI &HVDU¶V IRUPHU FRPSDQ\ *6,²WRRN D PLQRULW\ 

    SHUFHQW VWDNH LQ WKH %KDNWD¶V GHYHORSPHQW FRUSRUDWLRQ ZKLFK LV QRZ FDOOHG 9DQTXLVK 9DLO ,                             ,,

    //&

              7ZHOYH \HDUV ODWHU LQ  %KDNWD¶V HIIRUWV KDG VXEVWDQWLDOO\ LQFUHDVHG WKH YDOXH RI WKH

    GHYHORSPHQW FRUSRUDWLRQ DQG %KDNWD EHJDQ IORDWLQJ WR &HVDU DQG *XVWDYR WKH SURVSHFW RI EX\LQJ

    RXW *6+¶V PLQRULW\ VWDNH &HVDU DQG *XVWDYR ERWK DJUHHG WR WKLV EX\RXW &RQVHTXHQWO\ RQ -XO\

      %KDNWD¶V FRUSRUDWH HQWLW\ 9DQTXLVK 9DLO ,                           ,, //& ZLUHG  WR DQ 2FFLGHQWDO

    %DQN %DUEDGRV /WG DFFRXQW KHOG E\ *6+¶V SDUHQW FRPSDQ\ WKH %ULWLVK 9LUJLQ ,VODQGV

    FRUSRUDWLRQ *OREDO )LQDQFH 0DQDJHPHQW &RUSRUDWLRQ ³*)0´  See 2FFLGHQWDO %DQN 6WDWHPHQW

    DWWDFKHG DV ([KLELW 

              &HVDU DQG 7XOLD XOWLPDWHO\ GHFLGHG WR EX\ WKH &RQGRPLQLXP ZLWK WKH IXQGV IURP WKLV

    GLVWULEXWLRQ DIWHU PRQWKV RI GHOLEHUDWLRQ  7KXV &HVDU QRWLILHG *XVWDYR KH ZDV WDNLQJ KLV VKDUH

    RI WKH GLVWULEXWLRQ IURP WKH %KDNWD LQYHVWPHQW DQG DVNHG 3XEOLR 9HODVFR²ZKR DV VWDWHG DERYH

    VHUYHG DV WKH DFFRXQWDQW IRU VHYHUDO FRUSRUDWH HQWLWLHV DIILOLDWHG ZLWK GLIIHUHQW PHPEHUV RI WKH

    +HUQDQGH] IDPLO\ LQFOXGLQJ *)0²WR ZLUH D  GHSRVLW WR WKH HVFURZ DJHQW GHVLJQDWHG LQ

    WKH 3XUFKDVH $JUHHPHQW 9HODVFR FRPSOHWHG WKLV ZLUH WKURXJK *)0 DQG VXEVHTXHQWO\ FRPSOHWHG

    WKUHH DGGLWLRQDO ZLUHV WR WKH HVFURZ DJHQW IURP *)0  IRU  RQ -DQXDU\    IRU

     RQ )HEUXDU\   DQG  IRU  RQ )HEUXDU\   7KXV &HVDU¶V VKDUH



    7R SURWHFW WKHLU FKLOGUHQ¶V ILQDQFLDO IXWXUHV WKH\ DOVR GHFLGHG WR YHVW IRUPDO RZQHUVKLS RI WKH
    &RQGR LQ WKH /DQG 7UXVW DQG WR YHVW RZQHUVKLS RI WKH /DQG 7UXVW LQ WKH 3RXU 2YHU 7UXVW

    Stum pha uzer Foslid Slom a n Ross & Kola ya , PL L C | A ttorneys a t Law
    2 South Biscayne Boulevard, Suite 2550 | Miami, FL 33131 | T + 1 305.371.9686 | F +1 305.371.9687
                                                                                                                www.sfslaw.com
                                                                        
Case1:18-cr-20685-KMW
Case 1:18-cr-20685-KMW Document
                       Document131
                                377-3Entered
                                       Entered
                                             on on FLSD
                                                FLSD    Docket
                                                      Docket    04/28/2021Page
                                                             08/21/2019       Page
                                                                                11 49 of
                                                                                   of 18
                                       104
                                                       &DVH 1R FU.0:


    LQ WKH SURFHHGV IURP WKH  9DLO LQYHVWPHQW IXQGHG  RI WKH &RQGR¶V 

    3XUFKDVH $JUHHPHQW SULFH

                    E &HVDU¶V (DUQLQJV IURP 3DQDPHULFD &DSLWDO *URXS

              $V QRWHG DERYH WKH JURVV DPRXQW GXH WR VHOOHU DW FORVLQJ ZDV  $IWHU

    DSSO\LQJ WKH  GHSRVLWV D VHOOHU¶V FUHGLW RI  DQG XQSDLG FRXQW\ WD[HV RI 

    D  VKRUWIDOO UHPDLQHG &HVDU DQG 7XOLD VRXJKW DQG REWDLQHG D RQHPRQWK H[WHQVLRQ IRU

    FORVLQJ

              &HVDU DQG 7XOLD GLG QRW KDYH  LQ OLTXLG DVVHWV DW WKDW WLPH &HVDU GLG KRZHYHU

    NQRZ WKDW KH ZDV HQWLWOHG WR  LQ EXVLQHVV UHIHUUDO IHHV KH JHQHUDWHG IRU D 3DQDPDQLDQ

    FRUSRUDWLRQ ZKLFK ZDV WKHQ DIILOLDWHG ZLWK WKH +HUQDQGH] IDPLO\ 3DQDPHULFD &DSLWDO *URXS

     ³3&*´  $FFRUGLQJO\ &HVDU UHTXHVWHG WKDW 9HODVFR SD\ &HVDU¶V 3&* HDUQLQJV UHFHLYHG LQ *60

    $FFRXQW  RQ $SULO   GLUHFWO\ WR WKH 3XUFKDVH $JUHHPHQW HVFURZ DJHQW $OWKRXJK

    &HVDU KDG UHTXHVWHG WKH IXOO  EH VHQW WR WKH HVFURZ DJHQW 9HODVFR H[HUFLVHG KLV GLVFUHWLRQ

    WR OLPLW WKH WUDQVIHU WR  ZKLFK KH GLG WKURXJK *60 RQ $SULO   See *60 $FFRXQW

     $SULO  6WDWHPHQW DWWDFKHG DV ([KLELW  7KXV 7XOLD DQG &HVDU QHHGHG WR REWDLQ WKH

    UHPDLQLQJ  IURP DQRWKHU VRXUFH DIWHU DWWHPSWLQJ EXW IDLOLQJ WR VHFXUH D ORDQ IURP D

    WUDGLWLRQDO PRUWJDJH OHQGHU GXH WR WKH WLPH FRQVWUDLQWV




     $JHQW 9HJD VWDWHV WKLV  FDPH IURP *67)  EHFDXVH  ZHUH ZLUHG IURP *67)
     WR *60 $FFRXQW  RQ $SULO   $JHQW 9HJD WKHQ VWDWHV  ZHUH WUDQVIHUUHG
    IURP *60 $FFRXQW  WR WKH HVFURZ DJHQW RQ $SULO   $JHQW 9HJD¶V GHFODUDWLRQ
    KRZHYHU IDLOV WR HVWDEOLVK D IDFWXDO OLQN EHWZHHQ WKHVH WZR WUDQVIHUV RWKHU WKDQ WKDW WKH\ ZHUH ERWK
     1RWDEO\ $JHQW 9HJD GLG QRW DFFRXQW IRU D  WUDQVIHU WR *OREDO 6KDUHG 6ROXWLRQV
    &RUS %XVLQHVV &KHFNLQJ RXW RI WKH *60 $FFRXQW  RQ WKDW VDPH GDWH

    Stum pha uzer Foslid Slom a n Ross & Kola ya , PL L C | A ttorneys a t Law
    2 South Biscayne Boulevard, Suite 2550 | Miami, FL 33131 | T + 1 305.371.9686 | F +1 305.371.9687
                                                                                                        www.sfslaw.com
                                                                        
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 50 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 51 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 52 of
                                      104


    )URP           &pVDU +HUQiQGH]
    7R             0DUFHOD 9HOiVTXH] 5H\HV
    &F             3XEOLR 9HODVFR
    6XEMHFW        &ORVLQJ
    'DWH           7KXUVGD\ $SULO    $0
    $WWDFKPHQWV    6DJH &ORVLQJ ,QVWUXFWLRQV(1*/,6+  SGI



    MV

    Pls look at transfer instructions and send the 30k (Unit is 2E).

    Publio, please send a short email to Gustavo for the Trade Finance loan to GSM for $ 90k,
    usual rate they use.

    Regards,


    Cesar G. Hernández
    The Global Securities Group

    Aviso de Confidencialidad: La información contenida en este mensaje es estrictamente confidencial y
    pertenece a THE GLOBAL SECURITIES GROUP " GLOBAL" o sus empresas afiliadas. Si Usted no es
    el destinatario real, por favor destruya este mensaje. Queda prohibida la reproducción parcial o total de
    la misma sin autorización expresa del Emisor. THE GLOBAL SECURITIES GROUP " GLOBAL" o sus
    empresas afiliadas no se hacen responsable por los daños que los equipos puedan sufrir por
    consecuencia de este mensaje.

    Confidentiality Notice: The information contained in this message is strictly confidential and is the
    exclusive property of THE GLOBAL SECURITIES GROUP " GLOBAL" or its affiliates. If you are not the
    intended recipient please delete this message. It is prohibited the partial or total reproduction without
    subsequent written confirmation. THE GLOBAL SECURITIES GROUP " GLOBAL" or its affiliates is not
    liable for the presence of any virus in it that causes or may cause damage to your equipment or software.




                                                                                           Land Trust 00057
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 53 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 54 of
                                      104



                 LOAN AGREEMENT dated as of April 13, 2017, (the “Agreement”) among:
         (i) Global Securities Management LLC a corporation duly incorporated and validly
         existing under the laws of the Florida State of United States (the “Borrower”); and (ii)
         Global Securities Trade Finance, a financial entity duly incorporated and validly
         existing under the laws of the Cayman Islands (the “Lender” and, together with the
         Borrower, the “Parties”).



                                              ARTICLE I
                                              DEFINITIONS

                  As used in this Agreement, the following capitalized terms have the meanings
         attributed in this Section, unless otherwise specifically provided herein. The titles,
         Articles and Sections are included for reference and convenience purposes, but they
         do not limit, define or describe the scope and intention of the Agreement and they are
         not considered as part of it. The technical and scientific terms that are not expressly
         defined herein must have the meanings given by the respective technique or science.
         The terms that are not technical or scientific, but are not expressly defined herein must
         be understood by common sense, according to the generalized use given to them. The
         definitions of terms herein shall apply to both the singular and plural forms of the
         terms defined.

                  As used in this Agreement the following terms have the meanings specified
         below:

                 (a)     “Agreement” as mentioned in the first paragraph of this document,
         shall mean this loan agreement.

               (b)       “Borrower” has the meaning specified in the first paragraph of this
         Agreement.

                (c)    “Business Day” means any day, other than Saturday or Sunday, on
         which banks in Cayman Islands or New York City are authorized or required by law
         to remain open.

                  (d)    “Closing Date” means the execution date of this Agreement.

                 (e)   “Default Rate” shall have the meaning specified in Section 2.04(a) of
         this Agreement.

                  (f)    “Dollars” or “USD$” refers to Dollars of the United States of America.

                  (g)    “Event of Default” means any event specified as such in Article IV
         below.

                  (h)    “Interest Payment Date” means the Maturity Day.

                                                                                                
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 55 of
                                      104




                 (i)    “Loan” means the loan made by the Lender to the Borrower pursuant
         to this Agreement.

                  (j)     “Material Adverse Effect” means (a) a material adverse change in, or a
         material adverse effect upon, the business, structure, shareholder composition or
         financial condition of the Borrower; (b) a material impairment of the ability of the
         Borrower to make payments under the Loan when due; or (c) a material adverse effect
         upon the legality, validity, binding effect or enforceability against the Borrower of any
         of their obligations under the Loan and/or this Agreement.

                 (k)     “Maturity Date” means the date corresponding to one (1) month after
         the disbursement date of the Loan or, if such date is not a Business Day, the Maturity
         Date shall be the next succeeding Business Day unless such next succeeding Business
         Day falls in another calendar month, case in which such Maturity Date shall be the
         immediate preceding Business Day.

               (l)      “Note” has the meaning specified in Section 2.02(a) (ii) of this
         Agreement.

               (m)      “Parties” has the meaning specified in the first paragraph of this
         Agreement.

               (n)      “Principal” has the meaning specified in Section 2.01 (i) of this
         Agreement.

                 (o)    “Payment Date” means the Maturity Date.

               (p)      “Structuring Fee” has the meaning specified in Section 2.04 (h) of this
         agreement

               (q)      “Tax Deductions” has the meaning set forth in Section 2.05 of this
         Agreement.


                                            ARTICLE II
                                     CONDITIONS OF THE FACILITY

                SECTION 2.01 The Loan. (i) Subject to the terms of this Agreement, the
         Lender shall grant to the Borrower a Loan in an aggregate principal amount of ninety
         thousand Dollars USD$90,000.00 (the “Principal”).

                (ii) Amounts borrowed as Loan that are repaid or prepaid may not be
         reborrowed.

                  (iii) The Principal will be disbursed on the Closing Date, meaning the date in
         which the lender disburses the amount borrowed via wire transfer based on
         instructions provided by the Borrower on or before April 30, 2017.


                                                                                                
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 56 of
                                      104




                SECTION 2.02 Conditions Precedent. The Lender’s obligation to make the Loan
         under this Agreement shall be subject to the fulfillment of the following condition
         precedent prior to the disbursement, to the entire satisfaction of the Lender:

                (a)      The Lender shall have received the following documents, each of
         which shall be in form and substance satisfactory to the Lender:

                        (i)     Executed Agreement. This Agreement, duly executed and
                delivered by the Parties hereto; and

                         (ii)    Note. The Note, duly executed and delivered by the Borrower
                substantially in the form of Schedule 1 (the “Note”), delivered to the Lender
                for its benefit on or before the Closing Date, appropriately completed and in
                a way satisfactory to the Lender.

                (b)     There shall not have occurred since the Closing Date any event or
         circumstance that has had or could reasonably be expected to have a Material Adverse
         Effect on the financial, economic or political situation in the United States and
         Cayman Islands which in the opinion of the Lender would affect the repayment of
         Loan and/or the disbursements to be made pursuant to this Agreement.

         In the event that any of the conditions precedent set forth under this Section are not
         duly and timely satisfied by the Borrower, the Lender may, at its sole discretion, waive
         such condition precedent and disburse the Loan on the respective disbursement date.

                 SECTION 2.03 Repayment of the Loan. The Borrower shall repay the total
         principal amount of the Loan on the Payment Date. Repayment of the Loan shall be
         made by the Borrower by means of acquiring from an IEM an amount in US Dollars
         equivalent, at the corresponding payment date. Repayment must be made to the
         following account (unless otherwise notified by the Lender):

                Bank Name:              Citi National Bank
                Swift Code :            CNNJUS33
                ABA #:                  021201639
                Account Name:           Global Securities Trade Finance – CLASS C
                Account #:              1466054


                  SECTION 2.04 Interest Rate. The Borrower shall pay to the Lender interest on
         the unpaid USD$ Principal amount of the Loan, from the period from - and including
         - the disbursement date to - but excluding - the Payment Date, at a rate per annum of
         8.00% per annum (the “Interest Rate”).

                 (c)     The Borrower shall pay to the Lender interest on the Loan at a rate of
         10.00 % per annum in excess of the Interest (the “Default Rate”) at any time during
         the existence and / or continuance of an Event of Default.


                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 57 of
                                      104




                  (d)    Accrued interest on the Loan shall be payable on the Interest Payment
         Date; provided that interest payable at the Default Rate shall also be payable on
         demand by the Lender. The payment of interest shall be made in accordance with the
         calculations provided to it by the Lender and previously sent to the Borrower.

                (e)     The default interests specified in clause (a) above shall, to the extent
         permitted by applicable law, continue to accrue until paid, after as well as before any
         bankruptcy, insolvency, reorganization, liquidation, dissolution, arrangement or
         winding up, or composition or readjustment of debts of the Borrower.

                 SECTION 2.05 Taxes. Any and all payments by the Borrower to the Lender
         under this Agreement and/or with respect to the Loan shall be made free and clear of
         and without deduction or withholdings for any taxes. If any amount to be paid to
         Lender hereunder is subject to any deductions or withholdings for any present or
         future taxes, levies, imposts, duties, fees, charges, or liabilities imposed by any
         competent governmental authority (including but not limited to income withholding
         taxes) (hereinafter “Tax Deductions”), then:

                       (i)     the sum payable shall be increased as necessary so that after
                making all required deductions and / or withholdings, the Lender receives an
                amount equal to the sum it would have received if no such deductions had
                been made;

                        (ii)   Borrower shall make such deductions and withholdings and
                provide evidence to the Lender of the payment of any required withholding
                taxes to any applicable taxing authority at the request of the Lender; and

                       (iii)    Borrower shall timely pay the full amount deducted or
                withheld to the relevant governmental authority in accordance with applicable
                law.

                 Borrower agrees to indemnify and hold harmless the Lender for the full
         amount of any applicable taxes paid by the Borrower and any liability (including
         penalties, interest, additions to tax and expenses) arising therefrom or with respect
         thereto, whether or not such taxes were correctly or legally asserted.

                 SECTION 2.06 Optional Prepayments. The Borrower with previous approval of
         the Lender may prepay the Loan in whole or in part at any time prior to the Maturity
         Date, provided that the Borrower gives the Lender prior written notice of any such
         prepayment as provided in this Agreement (and, upon the date specified in such notice,
         the prepayment amount shall become due and payable hereunder). Prepayments shall
         not cause the Borrower to pay any penalties, fees or any other additional amount If
         the borrower does not have the approval by the lender, the borrower should pay a
         penalty of two months of interest.

                                         ARTICLE III
                                REPRESENTATIONS AND WARRANTIES

                                                                                              
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 58 of
                                      104




                 The Borrower represents and warrants to the Lender that, as of both the date
         of this Agreement and the Borrowing Date:

                   (a)      Trust existence of Borrower and power. The Borrower (i) is a company duly
         organized, validly existing in good standing under the laws of the United States and
         Cayman Islands; (ii) has all requisite corporate power and all material governmental
         approvals necessary to own or lease its properties and carry on its business as now
         being or as proposed to be conducted, except where failure to have such governmental
         approvals (in the aggregate) is not reasonably likely to have a material adverse effect;
         (iii) is qualified to do business and is in good standing in all jurisdictions in which the
         nature of the business conducted by it makes such qualification necessary; (iv) has full
         power, authority and legal right to make and perform its obligations hereunder to
         which it is a party and to borrow the Loan hereunder; and (v) the Borrower is not
         considered to be “in dissolution” nor in liquidation under and pursuant its applicable
         law.

                   (b)    Corporate Authorization; No Contravention. The execution, delivery and
         performance by the Borrower of this Agreement and the consummation of the
         transaction, have been duly authorized by all necessary corporate or other action
         (including any necessary shareholder action), and do not contravene: (i) the by-laws or
         any shareholder or voting agreement; (ii) any applicable law, decree, judgment, award,
         injunction or similar legal restriction in effect, except to the extent that any
         contravention thereof is not reasonably likely to have a material adverse effect; or
         (iii) any document or other contractual restriction binding upon or affecting it or any
         of its properties, except to the extent that any contravention thereof is not reasonably
         likely to have a material adverse effect.

                 (c)    Binding Effect. This Agreement and the Note have been duly executed
         and delivered and contains legal, valid and binding obligations of the Borrower,
         enforceable in accordance with its terms, in each case except as may be limited by
         bankruptcy, insolvency or similar laws affecting the enforcement of creditors’ rights
         generally.

                  (d)      Pari Passu. The payment obligations of the Borrower hereunder are and
         will at all times be unconditional general obligations of it, and rank and will at all times
         rank at least pari passu with all other present and future unsubordinated debt of the
         Borrower, except as may be limited by bankruptcy, insolvency or similar laws affecting
         the enforcement of creditors’ rights generally and as may be limited by equitable
         principles of general applicability.

                  (e)    Litigation. There is no litigation, investigation, arbitration or other
         proceeding pending or, to the best knowledge of the Borrower threatened against him
         or its property before any arbitrator or governmental authority having jurisdiction with
         respect thereto that: (i) individually or in the aggregate, has had or, if adversely
         determined, could reasonably be expected to have a material adverse effect, (ii)
         purports to materially and adversely affect any transaction contemplated hereby or (iii)


                                                                                                   
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 59 of
                                      104




         purports to materially and adversely affect the legality, validity, binding effect or
         enforceability of this Agreement.

                 (f)     No Additional Governmental Authorization. Except for the filing of the
         Loan with the Governmental Central Bank (obligation which will be complied by the
         Borrower prior to the disbursement date), no approval, consent, exemption,
         authorization, registration or other action by, or notice to, or filing with, any
         Governmental authority is necessary or required in connection with the execution,
         delivery or performance by, or enforcement against, the Borrower of this Agreement.

                 (g)     No default. No default or Event of Default exists or would result from
         the incurring of any obligations by the Borrower. As of the Closing Date, the Borrower
         is not in default under or with respect to any contractual obligation in any respect
         which, individually with all such defaults, could reasonably be expected to have a
         Material Adverse Effect, or that would, if such default had occurred after the Closing
         Date, create an Event of Default.

                 (h)     Taxes. The Borrower have filed all material tax returns and reports
         required to be filed under the laws of the British Virgin Islands, and have paid all
         material taxes, assessments, fees and other governmental charges levied or imposed
         upon its properties, income or assets otherwise due and payable, except those which
         are being contested in good faith by appropriate proceedings and for which adequate
         reserves have been provided in accordance with applicable accounting rules.

                  (i)     Commercial acts. The Borrower's obligations under this Agreement and
         the Notes are commercial in nature and are subject to civil and commercial law, and
         the execution and performance of this Agreement and the Note constitute private and
         commercial acts and not governmental or public acts and the Borrower is subject to
         legal action in respect of the Loan.

                                           ARTICLE IV
                                        EVENTS OF DEFAULT

         SECTION 4.01 Each of the following events is herein called an “Event of Default”

                         (a)     Non payment. Any scheduled payment of the Principal or
                interest, fees or any other amount payable hereunder or under any Note is not
                paid in full when and where due and the Borrower fails to correct such action
                within five (5) Business Days;

                         (b)    Representation or warranty. Any representation, warranty or
                certification made or deemed made herein (or in any modification or
                supplement hereto) by the Borrower, shall prove to have been inaccurate in
                any material respect as of the time made;

                        (c)      Observance of obligations. The Borrower remains in default for a
                period of ten (10) days or more in the observance or performance of any of its

                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 60 of
                                      104




               other obligations under this Agreement (other than as provided in Sections (a)
               or (b) above);

                        (d)      Monetary Judgments. One or more judgment(s), order(s),
               decree(s), award(s), settlement(s) and/or agreement(s) to settle (including any
               relating to any arbitration) is/are rendered against the Borrower in an amount
               exceeding USD$500,000 (or its equivalent in any other currency) in the
               aggregate and shall remain unsatisfied, undischarged and in effect for a period
               of sixty (60) or more calendar days without a stay of execution, unless the same
               is either: (i) adequately bonded or covered by insurance where the surety or
               the insurer, as the case may be, has admitted liability in respect of such
               judgment(s), order(s), decree(s), award(s), settlement(s) and/or agreement(s)
               to settle or (ii) is being contested by appropriate proceedings properly
               instituted and diligently conducted and, in either case, such process is not being
               executed against any property of the Borrower;

                        (e)     Non-monetary Judgments. Any non-monetary judgment, order,
               decree, award, settlement or agreement to settle (including any relating to any
               arbitration) is rendered against or agreed by the Borrower that (in the
               aggregate) has had or could reasonably be expected to have a material adverse
               effect, and a stay of execution thereof shall not be obtained within forty-five
               (45) days from the date of entry or agreement thereof;

                       (f)     Loss of property. Any governmental authority having jurisdiction
               with respect thereto shall condemn, nationalize, seize or otherwise expropriate
               any substantial portion of the property or the capital stock of the Borrower
               and such action is not reversed within a period of sixty (60) days;

                       (g)      Loss of Licenses or permits. Any governmental or other
               authorization, consent, license, permit, concession, approval (including any
               foreign exchange approval) or authorization that is necessary or appropriate
               under Governmental applicable laws for the execution, delivery or
               performance by the Borrower of any material obligation hereunder, in order
               for this Agreement to be valid, enforceable and admissible in evidence shall
               not be obtained or shall be withdrawn or shall cease to be in full force and
               effect or shall be modified in a manner that, in each case, could reasonably be
               expected to have a material adverse effect; and

                       (h)    Governmental decisions. Any restriction or requirement not in
               effect on the date of this Agreement is imposed, whether by legislative
               enactment, decree, regulation, order or otherwise that limits the availability or
               the transfer of foreign exchange by the Borrower in a manner that would
               reasonably be expected to materially adversely affect the payment of the
               Borrower’s obligations hereunder, or

                      (i)    Change of Control. A Change of Control shall occur that has not
               been consented to by the Lender.

                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 61 of
                                      104




         If any Event of Default has occurred and is continuing, the Loan, together with
         accrued interest thereon and any fees and all other obligations accrued hereunder and
         under the Note shall immediately become due and payable.


                                        ARTICLE V
                                 OBLIGATIONS OF BORROWER


                SECTION 5.01 So long as the Loan is unpaid or unsatisfied, unless the Lender
         waives compliance in writing:

                     (a) Financial Statements. The Borrower shall deliver to the Lender, in
                form and detail satisfactory to the Lender, as soon as available, but not later
                than ninety (90) calendar days after the end of each December 31st of each
                year, a copy of the audited financial statements of the Borrower as at the end
                of such fiscal year.

                      (b)   Notices. The Borrower shall notify the Lender promptly upon
                becoming aware thereof: (i) of the occurrence of any Event of Default; and (ii)
                of any event that has had or could reasonably be expected to have a Material
                Adverse Effect, including (a) breach or non-performance of, or any default
                under, a contractual obligation of the Borrower; (ii) any litigation, investigation
                or other proceeding between the Borrower and any authority or third party;
                (iii) the commencement of, or any material development in, any litigation or
                proceeding affecting the Borrower. Each notice under this Section 5.01 (b)
                shall be accompanied by a written statement by the legal representative of the
                Borrower setting forth details of the occurrence referred to therein, and stating
                what action the Borrower proposes to take with respect thereto and at what
                time.

                     (c)    Preservation of Corporate Existence. The Borrower shall: (i) preserve
                and maintain in full force and effect its corporate existence and good standing
                under the laws of the British Virgin Islands; and (ii) preserve and maintain in
                full force and effect all governmental rights, privileges, qualifications, permits
                and licenses necessary or desirable in the normal conduct of its business.

                     (d)    Compliance with Laws. The Borrower shall comply in all material
                respects with all applicable requirements of Law of any authority having
                jurisdiction over them or their business except where noncompliance
                therewith could not reasonably be expected to have a Material Adverse Effect.

                    (e)    Inspection of Property and Books and Records. The Borrower shall
                maintain proper books of record and account, in which full, true and correct
                entries in conformity with applicable accounting regulation consistently
                applied shall be made of all financial transactions and matters involving their
                assets and business. The Borrower shall permit representatives of the Lender

                                                                                                 
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 62 of
                                      104




                 to visit and inspect any of their properties, to examine their respective
                 corporate or trust, financial and operating records, and to discuss their affairs,
                 finances and accounts with their respective directors, officers, and
                 independent public accountants, all at the expense of the Borrower and at such
                 reasonable times during normal business hours and as often as may be
                 reasonably desired, upon reasonable advance notice to the Borrower.

                      (f) Endorsement and Custody of Promissory Notes. As collateral, the Borrower shall
                 endorse in favor of the Lender promissory notes duly issued on his favor by
                 individuals that have borrowed from him with the purpose of working capital
                 facility


                                               ARTICLE VI
                                              MISCELLANEOUS

                 SECTION 6.01 Confidentiality. Under no circumstance, any information
         regarding the transactions contemplated herein shall be made available to any person,
         regulatory entity or to the public by Lender or Borrower, without the prior written
         consent of the Lender or Borrower, as the case may be. The Lender agrees that it will
         keep at all times the confidential information related and provided to them by
         Borrower, unless there is a request to disclose such information by an authority or
         unless disclosure is required by law or financial reporting purposes. In this case, it shall
         notify the Borrower before the disclosure indicating the mandatory nature of it.

                  SECTION 6.02 Amendments. Any amendment to this Agreement shall be made
         in writing prior mutual agreement between the Parties.

                 SECTION 6.03 Assignment. (a) The Borrower may not assign its rights and
         obligations under this Agreement without the prior written authorization granted by
         the Lender.

                 (b)     The Lender may at any time assign this Agreement to a third party
         without the consent of the Borrower, in which case written notice of such assignment,
         together with payment instructions, addresses and related information with respect to
         the assignee, shall have been given to the Borrower by the Lender and the assignee.

                  SECTION 6.04 Notices. All notices and communications provided for herein
         shall be in writing and shall be deemed to have been duly notified on the date of
         delivery, if delivered personally, by courier or by telecopy, receipt confirmed, or seven
         Business Days after mailing, if sent by registered or certified mail, return receipt
         requested, postage prepaid, to the party to whom it is directed at the following address
         (or at such other address as any Party hereto shall hereafter specify by notice in writing
         to the other Parties hereto):

         If to Lender:
         Global Securities Trade Finance

                                                                                                      
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 63 of
                                      104




         405 Lexington Avenue, 41st Floor
         New York, NY, 10174
         Tel: (212) 905 4927
         Fax: (212) 905 4930

         If to Borrower, at the following address:
         Global Securities Management
         701 Brickell Ave
         Suite 1420
         Miami, FL 33131


                SECTION 6.05 Applicable law and Choice of Forum. This Agreement shall be
         construed in accordance with the laws of the Cayman Islands.

                 In case of any dispute in connection with this Agreement, other than any
         dispute that may be resolved through an executive judicial proceeding, such dispute
         shall be settled by one (1) arbitrator appointed jointly by the Parties, who shall act in
         accordance with the rules appropriate under Governmental applicable laws. If the
         Parties fail to reach an agreement and the arbitrator is not appointed for any reason
         whatsoever within twenty (20) days after the date on which a dispute was notified in
         writing from one party to the other, any one of the parties may request to make such
         appointment. The place of arbitration shall be Miami, Florida, USA, and the arbitrators
         shall decide based on law.

                 SECTION 6.06. No Waiver; Cumulative Remedies. No failure to exercise and no
         delay in exercising, on the part of the Lender, any right, remedy, power or privilege
         hereunder, shall operate as a waiver thereof; nor shall any single or partial exercise of
         any right, remedy, power or privilege hereunder preclude any other or further exercise
         thereof or the exercise of any other right, remedy, power or privilege.

                 SECTION 6.07. Costs and Expenses. The Borrower shall pay or reimburse the
         Lender within five (5) Business Days after demand for all reasonable costs and
         expenses (including attorney costs) incurred by Lender in connection with the
         enforcement, attempted enforcement, or preservation of any rights or remedies under
         this Agreement or in any other agreement or document in connection thereof during
         the existence of an Event of Default or after acceleration of the Loan.

                 SECTION 6.08. Indemnity. Whether or not the transactions contemplated
         hereby are consummated, the Borrower shall indemnify and hold the Lender and each
         of their respective officers, directors, employees, counsel, agents and attorneys-in fact
         (each, an "Indemnified Person") harmless from and against any and all liabilities,
         obligations, losses, damages, penalties, actions, judgments, suits, costs, charges,
         expenses and disbursements (including the fees and disbursements of counsel to the
         Lenders) of any kind or nature whatsoever which may at any time (including at any
         time following repayment of the Loan) be imposed on, incurred by or asserted against
         any such person in any way relating to or arising out of this Agreement or any
                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 64 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 65 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 66 of
                                      104




         *OREDO 6HFXULWLHV 0DQDJHPHQW //& D FRPSDQ\ OHJDOO\ FRQVWLWXWHG LQ DFFRUGDQFH
         ZLWK WKH ODZV RI WKH 6WDWH RI )ORULGD 86$ UHSUHVHQWHG OHJDOO\ E\ &HVDU +HUQDQGH]
         -U LGHQWLILHG DV LW DSSHDUV ODWHU DQG DV HVWDEOLVKHG LQ WKH FHUWLILFDWH RI H[LVWHQFH DQG
         OHJDO UHSUHVHQWDWLRQ RI WKH FRPSDQ\ LVVXHG E\ WKH 6WDWH RI )ORULGD KHUHLQDIWHU WKH
         'HEWRU  DV GHEWRU KHUHE\ GHFODUHV

         ),567 7KDW WKH 'HEWRU KDV UHFHLYHG DV DQ RQHURXV PXWXDO IURP *OREDO 6HFXULWLHV
         7UDGH )LQDQFH DQ HQWLW\ GXO\ FRQVWLWXWHG DQG H[LVWLQJ LQ DFFRUGDQFH ZLWK WKH ODZV
         RI WKH &D\PDQ ,VODQGV KHUHLQDIWHU WKH &UHGLWRU WKH VXP RI QLQHW\ WKRXVDQG
         8QLWHG 6WDWHV 'ROODUV 8QLWHG 6WDWHV RI $PHULFD 86'    DWWULEXWDEOH
         WR WKH FUHGLW UHIHUUHG WR LQ WKH FUHGLW DJUHHPHQW GDWHG $SULO   EHWZHHQ WKH
         'HEWRU DQG WKH &UHGLWRU KHUHLQDIWHU WKH &UHGLW $JUHHPHQW 

         6(&21' 7KDW WKH 'HEWRU VKDOO SD\ XQFRQGLWLRQDOO\ LQ IDYRU RI WKH &UHGLWRU RU KLV
         RUGHU WKH VXP RI QLQHW\ WKRXVDQG 8QLWHG 6WDWHV 'ROODUV 86'  RR  IRU
         FDSLWDO ZLWKLQ D WHUP RI RQH  PRQWK FRXQWHG WR 6WDUWLQJ RQ $SULO   7KH
         DPRXQW JLYHQ LQ PXWXDO ZLOO EH SDLG LQ D VLQJOH LQVWDOOPHQW RQ WKH GDWH LQGLFDWHG
         DERYH

         7+,5' 'XULQJ WKH WRWDO WHUP RI WKLV SURPLVVRU\ QRWH WKH 'HEWRU ZLOO UHFRJQL]H
         DQG SD\ RQ WKH DPRXQW RI WKH SULQFLSDO GXH UHPXQHUDWRU\ LQWHUHVW DW WKH UDWH RI
         HLJKW SHUFHQW  DQQXDO FDVK 7KH LQWHUHVW ZLOO EH SD\DEOH DW PDWXULW\ DQG LWV
         VHWWOHPHQW ZLOO EH FDOFXODWHG EDVHG RQ WKH SURYLVLRQV RI WKH &UHGLW $JUHHPHQW IRU
         WKH SXUSRVH

         )2857+ ,I WKH SD\PHQW RI WKH VXPV RZHG XQGHU WKLV SURPLVVRU\ QRWH DUH QRW
         PDGH RQ WKH GDWHV HVWDEOLVKHG IRU WKH SXUSRVH WKH\ VKDOO EH SDLG RQ D GDLO\ EDVLV
         DQG LQWHUHVW IRU ODWH SD\PHQW VKDOO EH SDLG DW D UDWH HTXLYDOHQW WR   SHU DQQXP
         LQ H[FHVV RI WKH ,QWHUHVW HVWDEOLVKHG LQ WKH WKLUG SDUDJUDSK SUHYLRXV 7KH GHIDXOW
         LQWHUHVW PHQWLRQHG KHUHLQ VKDOO EH FDXVHG DQG SDLG IRU WKH GXUDWLRQ RI WKH GHOD\ 7KH
         WROHUDQFH RI WKH &UHGLWRU WR UHFHLYH SD\PHQW RI LQWHUHVW DQG  RU FDSLWDO DUUHDUV VKDOO
         QRW LPSO\ H[WHQVLRQ RU QRYDWLRQ RI WKH REOLJDWLRQV LQFRUSRUDWHG LQ WKLV SURPLVVRU\
         QRWH 7KH 'HEWRU ZLOO DOVR SD\ LQ FDVH RI H[WUDMXGLFLDO RU MXGLFLDO FROOHFWLRQ RI WKH
         FUHGLW WKH H[SHQVHV WKDW GHPDQG WKH FROOHFWLRQ LQFOXGLQJ WKH ODZ\HU V IHHV

         ),)7+ 3D\PHQWV PDGH WR WKH &UHGLWRU WR PHHW WKH REOLJDWLRQV DULVLQJ IURP WKLV
         SURPLVVRU\ QRWH VKDOO EH DSSOLHG LQ WKH IROORZLQJ RUGHU WD[HV FRPPLVVLRQV
         H[SHQVHV DQG MXGLFLDO FRVWV DQG FROOHFWLRQ RU FROOHFWLRQ LI DQ\ LQWHUHVW DUUHDUV LI
         DQ\ LQWHUHVWV 5HPXQHUDWLRQ DQG ILQDOO\ WR FDSLWDO UHSD\PHQWV

         6,;7+ 7KH 'HEWRU DXWKRUL]HV WKH &UHGLWRU WR GHFODUH WKH H[SLUDWLRQ RI WKH WHUP
         DQG GHPDQG WKH LPPHGLDWH SD\PHQW RI WKLV VHFXULW\ LQ WKH HYHQW RI GHIDXOW LQ WKH
         SD\PHQW RI DQ\ VXPV RZHG XQGHU WKLV SURPLVVRU\ QRWH DV ZHOO DV LQ WKH HYHQW RI
         DQ\ HYHQW RI GHIDXOW WKH WHUPV DQG FRQGLWLRQV VHW IRUWK LQ WKH &UHGLW $JUHHPHQW



                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 67 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 68 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 69 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 70 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 71 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 72 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 73 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 74 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 75 of
                                      104




                                LOAN AGREEMENT

                                    dated as of

                                  August, 17, 2017

                                      among

                     GLOBAL SECURITIES MANAGEMENT CORP
                                  as Borrower

                                        and

                       GLOBAL SECURITIES TRADE FINANCE
                                   as Lender
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 76 of
                                      104



                 LOAN AGREEMENT dated as of August, 17, 2017, (the “Agreement”)
         among: (i) Global Securities Management Corp a corporation duly incorporated
         and validly existing under the laws of the British Virgin Islands (the “Borrower”);
         and (ii) Global Securities Trade Finance, a financial entity duly incorporated and
         validly existing under the laws of the Cayman Islands (the “Lender” and, together
         with the Borrower, the “Parties”).



                                             ARTICLE I
                                             DEFINITIONS

                 As used in this Agreement, the following capitalized terms have the meanings
         attributed in this Section, unless otherwise specifically provided herein. The titles,
         Articles and Sections are included for reference and convenience purposes, but they
         do not limit, define or describe the scope and intention of the Agreement and they
         are not considered as part of it. The technical and scientific terms that are not
         expressly defined herein must have the meanings given by the respective technique
         or science. The terms that are not technical or scientific, but are not expressly
         defined herein must be understood by common sense, according to the generalized
         use given to them. The definitions of terms herein shall apply to both the singular
         and plural forms of the terms defined.

                  As used in this Agreement the following terms have the meanings specified
         below:

                 (a)     “Agreement” as mentioned in the first paragraph of this document,
         shall mean this loan agreement.

               (b)       “Borrower” has the meaning specified in the first paragraph of this
         Agreement.

                (c)    “Business Day” means any day, other than Saturday or Sunday, on
         which banks in Colombia or New York City are authorized or required by law to
         remain open.

                  (d)    “Closing Date” means the execution date of this Agreement.

                 (e)   “Default Rate” shall have the meaning specified in Section 2.04(a) of
         this Agreement.

               (f)       “Dollars” or “USD$” refers to Dollars of the United States of
         America.

                  (g)    “Event of Default” means any event specified as such in Article IV
         below.

                  (h)    “Interest Payment Date” means the Maturity Day.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 77 of
                                      104


                (i)      “Loan” means the loan made by the Lender to the Borrower
         pursuant to this Agreement.

                 (j)     “Material Adverse Effect” means (a) a material adverse change in, or
         a material adverse effect upon, the business, structure, shareholder composition or
         financial condition of the Borrower; (b) a material impairment of the ability of the
         Borrower to make payments under the Loan when due; or (c) a material adverse
         effect upon the legality, validity, binding effect or enforceability against the Borrower
         of any of their obligations under the Loan and/or this Agreement.

                 (k)    “Maturity Date” means the date corresponding to ninety (90) days
         after the disbursement date of the Loan or, if such date is not a Business Day, the
         Maturity Date shall be the next succeeding Business Day unless such next succeeding
         Business Day falls in another calendar month, case in which such Maturity Date shall
         be the immediate preceding Business Day.

               (l)      “Note” has the meaning specified in Section 2.02(a) (ii) of this
         Agreement.

               (m)      “Parties” has the meaning specified in the first paragraph of this
         Agreement.

               (n)      “Principal” has the meaning specified in Section 2.01 (i) of this
         Agreement.

                 (o)    “Payment Date” means the Maturity Date.

               (p)      “Structuring Fee” has the meaning specified in Section 2.04 (h) of this
         agreement

               (q)      “Tax Deductions” has the meaning set forth in Section 2.05 of this
         Agreement.


                                            ARTICLE II
                                     CONDITIONS OF THE FACILITY

                 SECTION 2.01 The Loan. (i) Subject to the terms of this Agreement, the
         Lender shall grant to the Borrower a Loan in an aggregate principal amount of ILYH
         KXQGUHG ILIW\ ILYH WKRXVDQG United States Dollars (USD $555,000.00) (the
         “Principal”).

                (ii) Amounts borrowed as Loan that are repaid or prepaid may not be
         reborrowed.

                  (iii) The Principal will be disbursed on the Closing Date, meaning the date in
         which the lender disburses the amount borrowed via wire transfer based on
         instructions provided by the Borrower on or before August 31, 2017.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 78 of
                                      104


                 SECTION 2.02 Conditions Precedent. The Lender’s obligation to make the
         Loan under this Agreement shall be subject to the fulfillment of the following
         condition precedent prior to the disbursement, to the entire satisfaction of the
         Lender:

                (a)      The Lender shall have received the following documents, each of
         which shall be in form and substance satisfactory to the Lender:

                        (i)     Executed Agreement. This Agreement, duly executed and
                delivered by the Parties hereto; and

                       (ii)   Note. The Note, duly executed and delivered by the
                Borrower substantially in the form of Schedule 1 (the “Note”), delivered to
                the Lender for its benefit on or before the Closing Date, appropriately
                completed and in a way satisfactory to the Lender.

                (b)     There shall not have occurred since the Closing Date any event or
         circumstance that has had or could reasonably be expected to have a Material
         Adverse Effect on the financial, economic or political situation in the Republic of
         Colombia which in the opinion of the Lender would affect the repayment of Loan
         and/or the disbursements to be made pursuant to this Agreement.

         In the event that any of the conditions precedent set forth under this Section are not
         duly and timely satisfied by the Borrower, the Lender may, at its sole discretion,
         waive such condition precedent and disburse the Loan on the respective
         disbursement date.

                 SECTION 2.03 Repayment of the Loan. The Borrower shall repay the total
         principal amount of the Loan on the Payment Date. Repayment of the Loan shall be
         made by the Borrower. Repayment must be made to the following account (unless
         otherwise notified by the Lender):

                Bank Name:             Citi National Bank
                Swift Code :           CNNJUS33
                ABA #:                 021201639
                Account Name:          Global Securities Trade Finance – CLASS D
                Account #:             55102421


                 SECTION 2.04 Interest Rate. The Borrower shall pay to the Lender interest
         on the unpaid USD$ Principal amount of the Loan, from the period from - and
         including - the disbursement date to - but excluding - the Payment Date, at a rate per
         annum of 5% per annum (the “Interest Rate”).

                 (c)    The Borrower shall pay to the Lender interest on the Loan at a rate
         equivalent to  SHU DQQXP (the “Default Rate”) at any time during the existence
         and / or continuance of an Event of Default.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 79 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 80 of
                                      104




                                LOAN AGREEMENT

                             dated as of September 25, 2017
                                          among
                      Global Securities Management LLC as
                                       Borrower

                                          and

                   GLOBAL SECURITIES TRADE FINANCE
                                       as Lender
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 81 of
                                      104


       (i) LOAN AGREEMENT dated as of September 25, 2017, (the “Agreement”) among: (ii) Global
       Securities Management LLC a corporation duly incorporated and validly existing under
       the laws of the Florida State of United States (the “Borrower”); and (iii) Global Securities
       Trade Finance, a financial entity duly incorporated and validly existing under the laws of the
       Cayman Islands (the “Lender” and, together with the Borrower, the “Parties”).



                                               ARTICLE I
                                               DEFINITIONS

               As used in this Agreement, the following capitalized terms have the meanings
       attributed in this Section, unless otherwise specifically provided herein. The titles, Articles
       and Sections are included for reference and convenience purposes, but they do not limit,
       define or describe the scope and intention of the Agreement and they are not considered as
       part of it. The technical and scientific terms that are not expressly defined herein must have
       the meanings given by the respective technique or science. The terms that are not technical
       or scientific, but are not expressly defined herein must be understood by common sense,
       according to the generalized use given to them. The definitions of terms herein shall apply
       to both the singular and plural forms of the terms defined.

                As used in this Agreement the following terms have the meanings specified
       below:

               (a)     “Agreement” as mentioned in the first paragraph of this document,
       shall mean this loan agreement.

             (b)       “Borrower” has the meaning specified in the first paragraph of this
       Agreement.

               (c)   “ Business Day” means any day, other than Saturday or Sunday, on which
       banks in Cayman Islands or New York City are authorized or required bylaw to remain open.

                (d)    “Closing Date” means the execution date of this Agreement.

             (e)       “Default Rate” shall have the meaning specified in Section 2.04(a) of this
       Agreement.

                (f)    “Dollars” or “USD$” refers to Dollars of the United States of America.

                (g)    “Event of Default” means any event specified as such in Article IV
       below.

                (h)    “Interest Payment Date” means the Maturity Day.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 82 of
                                      104



             (i)       “Loan” means the loan made by the Lender to the Borrower pursuant to this
       Agreement.

               (j)    “Material Adverse Effect” means (a) a material adverse change in, or a
       material adverse effect upon, the business, structure, shareholder composition or financial
       condition of the Borrower; (b) a material impairment of the ability of the Borrower to make
       payments under the Loan when due; or (c) a material adverse effect upon the legality, validity,
       binding effect or enforceability against the Borrower of any of their obligations under the
       Loan and/or this Agreement.

               (k)    “Maturity Date” means the date corresponding to one (1) month after the
       disbursement date of the Loan or, if such date is not a Business Day, the Maturity Date shall
       be the next succeeding Business Day unless such next succeeding Business Day falls in
       another calendar month, case in which such Maturity Date shall be the immediate preceding
       Business Day.

               (l)    “Note” has the meaning specified in Section 2.02(a) (ii) of this Agreement.

               (m)    “Parties” has the meaning specified in the first paragraph of this Agreement.

               (n)    “Principal” has the meaning specified in Section 2.01 (i) of thisAgreement.

               (o)    “Payment Date” means the Maturity Date.

              (p)     “Structuring Fee” has the meaning specified in Section 2.04 (h) of this
       agreement

             (q)      “Tax Deductions” has the meaning set forth in Section 2.05 of this
       Agreement.

                                            ARTICLE II
                                   CONDITIONS OF THE FACILITY

              SECTION 2.01 The Loan. (i) Subject to the terms of this Agreement, the
       Lender shall grant to the Borrower a Loan in an aggregate principal amount of one hundred
       thousand Dollars USD$100,000.00 (the “Principal”).

               (ii) Amounts borrowed as Loan that are repaid or prepaid may not be reborrowed.

               (iii) The Principal will be disbursed on the Closing Date, meaning the date in which
       the lender disburses the amount borrowed via wire transfer based on instructions provided
       by the Borrower on or before September 25, 2017.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 83 of
                                      104



               SECTION 2.02 Conditions Precedent. The Lender’s obligation to make the Loan under
       this Agreement shall be subject to the fulfillment of the following condition precedent
       prior to the disbursement, to the entire satisfaction of the Lender:

               (a)    The Lender shall have received the following documents, each of which shall
       be in form and substance satisfactory to the Lender:

                      (i)     Executed Agreement. This Agreement, duly executed and delivered
              by the Parties hereto; and

                       (ii)    Note. The Note, duly executed and delivered by the Borrower
              substantially in the form of Schedule 1 (the “Note”), delivered to the Lender for its
              benefit on or before the Closing Date, appropriately completed and in a way
              satisfactory to the Lender.

               (b)    There shall not have occurred since the Closing Date any event or
       circumstance that has had or could reasonably be expected to have a Material Adverse Effect
       on the financial, economic or political situation in the United States and Cayman Islands
       which in the opinion of the Lender would affect the repayment of Loan and/or the
       disbursements to be made pursuant to this Agreement.

     In the event that any of the conditions precedent set forth under this Section are not duly and
     timely satisfied by the Borrower, the Lender may, at its sole discretion, waive such condition
     precedent and disburse the Loan on the respective disbursement date.

               SECTION 2.03 Repayment of the Loan. The Borrower shall repay the total
       principal amount of the Loan on the Payment Date. Repayment of the Loan shall be made
       by the Borrower by means of acquiring from an IEM an amount in US Dollars equivalent,
       at the corresponding payment date. Repayment must be made to the following account
       (unless otherwise notified by the Lender):

              Bank Name:             Citi National Bank
              Swift Code :           CNNJUS33
              ABA #:                 021201639
              Account Name:          Global Securities Trade Finance – CLASS C
              Account #:             1466054


               SECTION 2.04 Interest Rate. The Borrower shall pay to the Lender interest on the
       unpaid USD$ Principal amount of the Loan, from the period from - and including - the
       disbursement date to - but excluding - the Payment Date, at a rate of 8.00% per annum (the
       “Interest Rate”).

              (c)     The Borrower shall pay to the Lender interest on the Loan at a rate of 10.00
       % per annum in excess of the Interest (the “Default Rate”) at any time of the existence and
       / or continuance of an Event of Default.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 84 of
                                      104




              SECTION 6.10. Schedules:

       Schedule 1-. Form of Notes to be granted by the Borrower.

               IN WITNESS WHEREOF, the Parties hereto have caused this Agreement   to be
       duly executed and delivered as of the day and year first above written.

       Global Securities Management LLC., as Borrower


       By:
              Publio F. Velasco
              Director


       Global Securities Trade Finance, as Lender



       By:
              Gustavo Hernandez
              Director
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 85 of
                                      104




                                LOAN AGREEMENT

                                    dated as of

                                 December 26, 2017

                                      among

                     GLOBAL SECURITIES MANAGEMENT CORP
                                  as Borrower

                                       and

                       GLOBAL SECURITIES TRADE FINANCE
                                   as Lender
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 86 of
                                      104



                 LOAN AGREEMENT dated as December 26, 2017, (the “Agreement”)
         among: (i) Global Securities Management Corp a corporation duly incorporated
         and validly existing under the laws of the British Virgin Islands (the “Borrower”); and
         (ii) Global Securities Trade Finance, a financial entity duly incorporated and validly
         existing under the laws of the Cayman Islands (the “Lender” and, together with the
         Borrower, the “Parties”).



                                              ARTICLE I
                                              DEFINITIONS

                  As used in this Agreement, the following capitalized terms have the meanings
         attributed in this Section, unless otherwise specifically provided herein. The titles,
         Articles and Sections are included for reference and convenience purposes, but they
         do not limit, define or describe the scope and intention of the Agreement and they are
         not considered as part of it. The technical and scientific terms that are not expressly
         defined herein must have the meanings given by the respective technique or science.
         The terms that are not technical or scientific, but are not expressly defined herein must
         be understood by common sense, according to the generalized use given to them. The
         definitions of terms herein shall apply to both the singular and plural forms of the
         terms defined.

                  As used in this Agreement the following terms have the meanings specified
         below:

                 (a)     “Agreement” as mentioned in the first paragraph of this document,
         shall mean this loan agreement.

               (b)       “Borrower” has the meaning specified in the first paragraph of this
         Agreement.

                (c)    “Business Day” means any day, other than Saturday or Sunday, on
         which banks in Colombia or New York City are authorized or required by law to
         remain open.

                  (d)    “Closing Date” means the execution date of this Agreement.

                 (e)   “Default Rate” shall have the meaning specified in Section 2.04(a) of
         this Agreement.

                  (f)    “Dollars” or “USD$” refers to Dollars of the United States of America.

                  (g)    “Event of Default” means any event specified as such in Article IV
         below.

                  (h)    “Interest Payment Date” means the Maturity Day.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 87 of
                                      104


                 (i)    “Loan” means the loan made by the Lender to the Borrower pursuant
         to this Agreement.

                  (j)     “Material Adverse Effect” means (a) a material adverse change in, or a
         material adverse effect upon, the business, structure, shareholder composition or
         financial condition of the Borrower; (b) a material impairment of the ability of the
         Borrower to make payments under the Loan when due; or (c) a material adverse effect
         upon the legality, validity, binding effect or enforceability against the Borrower of any
         of their obligations under the Loan and/or this Agreement.

                 (k)    “Maturity Date” means the date corresponding to twelve (12) month
         after the disbursement date of the Loan or, if such date is not a Business Day, the
         Maturity Date shall be the next succeeding Business Day unless such next succeeding
         Business Day falls in another calendar month, case in which such Maturity Date shall
         be the immediate preceding Business Day.

               (l)      “Note” has the meaning specified in Section 2.02(a) (ii) of this
         Agreement.

               (m)      “Parties” has the meaning specified in the first paragraph of this
         Agreement.

               (n)      “Principal” has the meaning specified in Section 2.01 (i) of this
         Agreement.

                 (o)    “Payment Date” means the Maturity Date.

                 (p)     “Taxes” has the meaning set forth in Section 2.05 of this Agreement.


                                            ARTICLE II
                                     CONDITIONS OF THE FACILITY

                 SECTION 2.01 The Loan. (i) Subject to the terms of this Agreement, the
         Lender shall grant to the Borrower a Loan in an aggregate principal amount of IRXU
         KXQGUHG HLJKW\ WKRXVDQG United States Dollars (USD $1,037,500.00) (the
         “Principal”).

                (ii) Amounts borrowed as Loan that are repaid or prepaid may not be
         reborrowed.

                  (iii) The Principal will be disbursed on the Closing Date, meaning the date in
         which the lender disburses the amount borrowed via wire transfer based on
         instructions provided by the Borrower on or before December 26, 2017.

                SECTION 2.02 Conditions Precedent. The Lender’s obligation to make the Loan
         under this Agreement shall be subject to the fulfillment of the following condition
         precedent prior to the disbursement, to the entire satisfaction of the Lender:
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 88 of
                                      104


                (a)      The Lender shall have received the following documents, each of
         which shall be in form and substance satisfactory to the Lender:

                        (i)     Executed Agreement. This Agreement, duly executed and
                delivered by the Parties hereto; and

                         (ii)    Note. The Note, duly executed and delivered by the Borrower
                substantially in the form of Schedule 1 (the “Note”), delivered to the Lender
                for its benefit on or before the Closing Date, appropriately completed and in
                a way satisfactory to the Lender.

                 (b)    There shall not have occurred since the Closing Date any event or
         circumstance that has had or could reasonably be expected to have a Material Adverse
         Effect on the financial, economic or political situation in the Republic of Colombia
         which in the opinion of the Lender would affect the repayment of Loan and/or the
         disbursements to be made pursuant to this Agreement.

         In the event that any of the conditions precedent set forth under this Section are not
         duly and timely satisfied by the Borrower, the Lender may, at its sole discretion, waive
         such condition precedent and disburse the Loan on the respective disbursement date.

                 SECTION 2.03 Repayment of the Loan. The Borrower shall repay the total
         principal amount of the Loan on the Payment Date. Repayment of the Loan shall be
         made by the Borrower. Repayment must be made to the following account (unless
         otherwise notified by the Lender):

                Bank Name:              Citi National Bank
                Swift Code :            CNNJUS33
                ABA #:                  021201639
                Account Name:           Global Securities Trade Finance – CLASS E
                Account #:              55102480


                  SECTION 2.04 Interest Rate. The Borrower shall pay to the Lender interest on
         the unpaid USD$ Principal amount of the Loan, from the period from - and including
         - the disbursement date to - but excluding - the Payment Date, at a rate per annum of
         5% per annum (the “Interest Rate”).

                 (c)    The Borrower shall pay to the Lender interest on the Loan at a rate
         equivalent to  SHU DQQXP (the “Default Rate”) at any time during the existence and
         / or continuance of an Event of Default.

                  (d)    Accrued interest on the Loan shall be payable on the Interest Payment
         Date; provided that interest payable at the Default Rate shall also be payable on
         demand by the Lender. The payment of interest shall be made in accordance with the
         calculations provided to it by the Lender and previously sent to the Borrower.
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 89 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 90 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 91 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 92 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 93 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 94 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 95 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 96 of
                                      104


                LOAN AGREEMENT dated as of November 14, 2017 (the "Agreement")
         among GLOBAL SECURITIES TRADE FINANCE FUND, a corporation duly
         organized and existing under the laws of Cayman Islands (the “Lender”); and PORT
         10 S.A.S., an entity duly incorporated and validly existing under the laws of Colombia
         (the “Borrower”), both hereinafter sometimes jointly referred to as (the “Parties”).

                                             ARTICLE I
                                             DEFINITIONS

                 As used in this Agreement, the following capitalized terms have the meanings
         attributed in this Article I, unless otherwise specifically provided for. The titles,
         Articles and Sections are included for reference and convenience purposes, but they
         do not limit, define or describe the scope and intention of the Agreement and they
         are not considered as part of it. The technical and scientific terms that are not
         expressly defined herein must have the meanings given by the respective technique
         or science. The terms that are not technical or scientific, but were not expressly
         defined herein must be understood by common sense, accordingly to the generalized
         use given to them. The definitions of terms herein shall apply equally to the singular
         and plural forms of the terms defined. As used in this Agreement the following
         terms have the meanings specified below:

                (a)     “Agreement” means this Loan Agreement.

               (b)      “Borrower” has the meaning specified in the first paragraph of this
         Agreement.

                (c)     “Business Day” means any day that is not a Saturday, Sunday or other
         day on which commercial banks in the Florida are authorized or required by law to
         remain closed.

                (d)     “Closing Date” means the execution date of this Agreement.

               (e)      “Dollars” and “USD$” refers to lawful money of the United States of
         America.

                 (f)    “Event of Default” means any event or circumstance specified as
         such in Section 2.07 herein.

                (g)      “Interest Payment Date” means the last day of each Interest Period;
         provided, that if such day is not a Business Day, such Interest Payment Date shall be
         the next succeeding Business Day unless such next succeeding Interest Payment
         Date would fall in another calendar month in which event such Interest Payment
         Date shall be the immediately preceding Business Day.

                  (h) “Interest Period” means, (a) initially, the period commencing on the
         disbursement date of the Loan and ending on the Maturity Date; and (b) thereafter,
         the period commencing on the last day of the immediately preceding Interest Period,
         and ending on the Maturity Date; provided, however, that: (A) if any Interest Period
         would otherwise end on a day that is not a Business Day, such Interest Period shall
         be extended to the next succeeding Business Day unless the result of such extension
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 97 of
                                      104

         would be to carry such Interest Period into another calendar month in which event
         such Interest Period shall end on the immediately preceding Business Day; and (B)
         any Interest Period may not extend beyond the Maturity Date.

                (i)      “Loan” means the loan made by the Lender to the Borrower
         pursuant to this Agreement.

                (j)      “Maturity Date” means the date falling on the ten (10) year
         anniversary of the disbursement date of the Loan, or if such date is not a Business
         Day, the Maturity Date shall be the next succeeding Business Day unless such next
         succeeding Business Day falls in another calendar month in which event such
         Maturity Date shall be the immediately preceding Business Day.

                 (k)      “Parties” means, collectively, the Borrower and the Lender.

                 (l)     “Principal Payment Date” means the Maturity Date.

                                             ARTICLE II
                                      CONDITIONS OF THE FACILITY

                SECTION 2.01.          The Loan. Subject to the terms of this Agreement, the
         Lender makes available to the Borrower a Loan in an aggregate principal amount equal
         to One Hundred and Fifty Thousand US Dollars (USD $150,000.00) (the “Principal”).

                 SECTION 2.02.          Conditions Precedent. The Lender acknowledges duly
         receipt of the documents listed hereafter in form and substance satisfactory to the
         Lender, making the Loan available for disbursement pursuant to the terms of this
         Agreement.

                 (a)    The Borrower has sent to the Lender the utilization request, which is
         attached hereto as Schedule 1; and

                (b)    The Borrower has executed a promissory note according to the
         Lender’s format, which is attached hereto as Schedule 2

                SECTION 2.03.          Repayment of the Loan. The Borrower shall repay the
         Loan on the Maturity Date, meaning on the one (1) year anniversary of the
         disbursement date of the Loan made by the Lender to the Borrower. Payment must
         be made in Dollars to the account provided by Borrower to the Lender in writing.

                 SECTION 2.04.           Voluntary Prepayment. The Borrower may, at any
         moment, if it gives the Lender not less than 5 Business Days' prior notice, prepay
         any partial or total outstanding amount of the Loan.

                 SECTION 2.05.            Interest Rate. The rate of interest on the Loan is five
         percent (5%) per annum over the total Principal amount outstanding at any time.
         Accrued interest on the Loan shall be payable on each of Interest Payment Date.
         Interest will accrue as of the disbursement date and until de Maturity Date or the
         voluntary prepayment date, whichever occurs first.


                                                                                                    
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 98 of
                                      104

                 SECTION 2.06.         Default Interests. If the Borrower fails to pay any
         amount payable by it under this Agreement on its due date, interest shall accrue on
         the overdue amount from the due date up to the date of actual payment (both before
         and after judgment) at the maximum rate of interest allowed by applicable law.

                SECTION 2.07.            Events of Default. The following events will be
         considered Events of Default under this Agreement and, unless cured within 10
         Days after its occurrence, will accelerate the payment of the outstanding Loan.

                 (a)     The Borrower does not pay on the due date any amount payable
         (Principal or interests) pursuant to this Agreement at the place and in the currency in
         which it is expressed to be payable.

                 (b)    Any representation or statement made or deemed to be made by the
         Borrower under or in connection with this Agreement is or proves to have been
         incorrect or misleading in any material respect when made or deemed to be made.

                                          ARTICLE III
                                 REPRESENTATIONS AND WARRANTIES

                 The Borrower declares and recognizes the following:

                 (a)     The Borrower is an entity duly organized and existing under the laws
         of Florida, and it is not facing any ground for dissolution neither it has requested a
         restructuring process.

                (b)     The Borrower has all requisite power and authority to carry on its
         business as now conducted, and it has been duly authorized by all necessary
         corporate and, if required, stockholder action.

                  (c)    The Borrower has the corporate power to enter into, perform and
         deliver, and has taken all necessary action to authorize its entry into, performance
         and delivery of, this Agreement and the transactions contemplated herein.

                  (d)     The obligations expressed to be assumed by it in this Agreement are,
         legal, valid, binding and enforceable obligations.

                 (e)    The payment obligations of the Borrower under the Loan are direct,
         general, and unconditional obligations of the Borrower. In addition, and to the
         extent permitted by applicable law, the Loan will have a priority upon other present
         and future, unsecured and secured, payment obligations of the Borrower

                                             ARTICLE IV
                                            MISCELLANEOUS

                 SECTION 4.01.           Taxes. The Borrower will be held responsible for the
         causation of any tax resulting from the granting or disburse of the Loan.

                 SECTION 4.02.           Applicable Law and jurisdiction. This Agreement shall be
         governed and interpreted by the laws of New York State. Any dispute between the
         Parties will be resolved by the competent courts in New York.
                                                                                                  
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 99 of
                                      104

                 SECTION 4.03.           Confidentiality. Under no circumstance, any information
         regarding the transactions contemplated herein shall be made available to any person,
         regulatory entity or to the public by Lender or Borrower, without the prior written
         consent of the Lender or Borrower, as the case may be. The Lender agrees that it will
         maintain at all times the confidential information related to and provided to them by
         Borrower, unless there is a request to disclose such information by an authority or
         unless disclosure is required by law or financial reporting purposes. In this case, it
         shall notify the Borrower before the disclosure indicating the mandatory nature of it.

               SECTION 4.04.          Amendments. Any amendment to this Agreement shall
         be made in writing prior mutual agreement between the Parties.

                 SECTION 4.05.           Notices. All notices and communications provided for
         herein shall be in writing and shall be deemed to have been duly notified on the date
         of delivery, if delivered personally, or upon receipt confirmed by courier to the party
         to whom it is directed at the following address (or at such other address as any Party
         hereto shall hereafter specify by notice in writing to the other Parties hereto):

         If to Borrower, at the following address:

         PORT 10 S.A.S.
         Avenida Zona France, 5 y 6
         Manga, Cartagena
         Colombia

         If to Lender, at the following address:

         Harneys Services (Cayman) Ltd.
         4th Floor, Harbour Place
         103 South Church Street
         PO Box 10240
         Grand Cayman, KY1-1002
         Cayman Islands



                              [Remainder of Page Intentionally Left Blank]




                                                                                               
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 100 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 101 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 102 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 103 of
                                      104
Case 1:18-cr-20685-KMW Document 377-3 Entered on FLSD Docket 04/28/2021 Page 104 of
                                      104
